                                                          U.S. DEPARTMENT OF JUSTICE
                                                          Federal Bureau of Prisons
                                                          Metropolitan Detention Center



                                                          80 29th Street
                                                          Brooklyn, New York 11232


                                                                                                 4/29/21
April 28, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007


     Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)


Dear Judge Nathan:

      I am writing in response to your April 26, 2021, Order seeking information regarding an
alleged incident involving Ghislaine Maxwell, Register No. 02879-509, at the Metropolitan
Detention Center in Brooklyn, New York (MDC Brooklyn) as relayed by her counsel in an April
26, 2021, letter.

      Pursuant to MDC Brooklyn policy, Institutional Supplement BRO-5267.09A, Inmate Visiting
Correctional Services, inmates may carry legal materials to the visiting area which pertain to their
current case. Visiting Room Officers inspect the legal materials for contraband. Inmates are not
permitted to carry out any items other than those they were allowed to be take into the Visiting
Room. Visiting Room Officers monitor inmate visits and if they become aware of any articles
passed between the inmate and the visitors, or “if there is any reasonable basis to suspect
materials are being passed between inmates and visitors, the Visiting Room Officer may examine
the item(s).”

     Legal staff is responsible for assigning inmates and their attorneys to particular room.
However, this is subject to change by the Visiting Room Officer, who is ultimately responsible
for room and seating assignments. MDC Brooklyn sets forth these rules in Admissions and
Orientation Handbook, which is given to each inmate upon admission to the institution.



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      On Saturday, April 24, 2021, Ms. Maxwell had a scheduled legal visit with her legal counsel.
During legal visits, attorneys may refer to and hand legal documents to their clients, so long as
the documents are returned to the attorneys’ possession at the conclusion of the visit. During
Ms. Maxwell’s legal visit, staff noted that she was in receipt of documents that were handed to
her by the attorneys. Upon completion of the legal visit, the Visiting Room Officer notified the
supervisor that Ms. Maxwell was in receipt of documents that were handed to her by her
attorneys. Pursuant to Institutional Supplement BRO-5267.09A, Inmate Visiting Correctional
Services, the supervisory staff were notified and identified the documents that staff referred to.
Ms. Maxwell was returned to her housing unit and Legal staff were notified.

     I informed the supervisor to place the documents in an envelope, date and secure the
envelope. I advised the supervisor to return the envelope to Ms. Maxwell’s attorneys on Sunday,
April 25, 2021, when they returned for another legal visit with Ms. Maxwell, and to tell the
attorneys to place in the envelope and any future documents for Ms. Maxwell in one of the legal
depository boxes in the lobby of the East and West buildings of MDC Brooklyn.

      In addition, staff acted appropriate when Ms. Maxwell was escorted to the restroom. Pursuant
to MDC Brooklyn policy, Institutional Supplement BRO-5267.09A, Inmate Visiting Correctional
Services, inmates who use the Visiting Room restroom are escorted by staff and remain under
staff’s constant supervision.

    We respectfully request Your Honor deny defense counsel’s proposed order. Please let us
know if the Court requires any additional information, which we will be happy to provide.


Respectfully submitted,


/s/ Sophia Papapetru

Sophia Papapetru
Staff Attorney
MDC Brooklyn
Federal Bureau of Prisons




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